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                             IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                      EASTERN DISTRICT OF CALIFORNIA
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11
      UNITED STATES OF AMERICA,                           )    1:07-CR-00192-AWI
12                                                        )
                              Plaintiff,                  )    PRELIMINARY ORDER OF FORFEITURE
13                                                        )
                                      v.                  )
14                                                        )
                                                          )
15    DAVID CHAVEZ, JR.,                                  )
                                                          )
16                            Defendant.                  )
                                                          )
17
18             Based upon the plea agreement entered into between plaintiff United States of America and
19   defendant David Chavez, Jr., it is hereby ORDERED, ADJUDGED, AND DECREED as follows:
20             1.     Pursuant to 21 U.S.C. § 853, defendant David Chavez, Jr.’s interest in the following
21   property shall be condemned and forfeited to the United States of America, to be disposed of according
22   to law:
23                    a. Approximately $7,112.00 in U.S. Currency,
24                    b. Approximately $26,074.63 in U.S. Currency,
25                    c. Approximately $1,942.26 in U.S. Currency seized on May 1, 2007,
                         from Bank of the Sierra Account Number 2401663280, held in the
26                       name of David Chavez, Jr., and
27                    d. Approximately $22,598.63 in U.S. Currency seized on May 1, 2007,
                         from Bank of America Account Number 255692-44679, held in the
28                       name of Nature’s Medicinal Cooperative.




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 1          2.       The above assets constitute, or are derived from, proceeds obtained, directly or
 2   indirectly, or were used, or intended to be used, in any manner or part, to commit, or to facilitate the
 3   commission of a violation of 21 U.S.C. § 843(b).
 4          3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to
 5   seize the above-listed property. The aforementioned property shall be seized and held by the United
 6   States Marshal Service in their secure custody and control.
 7          4.       a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall
 8   publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a
 9   designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be
10   posted for at least 30 consecutive days on the official internet government forfeiture site
11   www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice
12   to any person known to have alleged an interest in the property that is the subject of the order of
13   forfeiture as a substitute for published notice as to those persons so notified.
14                   b.      This notice shall state that any person, other than the defendant, asserting a legal
15   interest in the above-listed property, must file a petition with the Court within sixty (60) days from the
16   first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or
17   within thirty (30) days from receipt of direct written notice, whichever is earlier.
18          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this
19   Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will be
20   addressed.
21   IT IS SO ORDERED.
22
     Dated:      October 10, 2012
23   0m8i78                                                     CHIEF UNITED STATES DISTRICT JUDGE
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                                                            2                       Preliminary Order of Forfeiture
